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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                        MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                        SECTION: “H” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                CASE MANAGEMENT ORDER NO. 15
     (AGREED ORDER REGARDING PATHOLOGY PROTOCOL FOR
   PRESERVATION AND TESTING OF TISSUE SAMPLES TAKEN FROM
   PLAINTIFFS AND HANDLING OF PLAINTIFFS’ PATHOLOGY SLIDES)

        The Court hereby Orders as follows:

        1.     Applicability of Order. The following procedures will govern the

pathology materials for any Plaintiff in MDL No. 2740. To the extent that any biopsied

tissue or pathology materials exist for any Plaintiff, Plaintiff will maintain and preserve the

tissue samples and pathology in an appropriate manner that preserves it for examination,

testing, and use by both parties, as set out herein. Non-trial-pool Plaintiffs shall only be

subject to paragraphs 1-6 of this Order, unless they are later named as a trial pool Plaintiff.

        2.     Definitions. As set forth herein, the term “pathology materials” refers to

any tissue sample collected from a Plaintiff’s scalp, including but not limited to tissue

obtained from punch biopsies, shave biopsies, and incisional biopsies, as well as slides

made from tissue. As set forth herein, the term “gross specimen material” refers to any

pathology materials that are not on a slide, including but not limited to the paraffin-

embedded tissue block.

        3.     Request for Preservation of Pathology Materials. Within forty-five (45)

days of Plaintiff having undergone a procedure related to her alleged injury, Plaintiff’s

counsel in such case shall send a Request for Preservation of Pathology Materials (attached

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as Exhibit A) to the facility where the procedure occurred (unless such a request in a

similar form has already been sent).

        4.      Notice of Existence of Specimen. Once a Plaintiff has undergone a biopsy

or Plaintiff’s counsel has otherwise learned of the existence of pathology materials,

Plaintiff shall within sixty (60) days (within seven (7) days for trial pool Plaintiffs)

supplement her Plaintiff Fact Sheet (“PFS”) to advise Defendants of the existence of

pathology materials and any additional responsive information resulting therefrom

including:

        -    Section VII, Hair Loss History;




        -    Section IX, Document Requests and Authorizations;




        -    Section VI.6 (“Have you ever received treatment for the injury you allege in

             this lawsuit?”), providing a copy of the request for preservation letter sent to

             the provider; and

        -    Section VI.7 – 8, to the extent applicable.

        5.      Apportioning and Preservation of Pathology Materials and Pathology

Slides. Each party is entitled to a representative, comparable, and approximately equal

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portion of the gross specimen material. Either side may request such material, and any

slides, from the healthcare provider or facility maintaining the same with notice to

opposing Liaison Counsel. Upon request, if authorizations attached to the PFS are deemed

insufficient by the healthcare provider or facility, Plaintiff shall provide defendants with

valid authorizations for release of such materials or slides.

        a. Whichever Party Obtains Material First Agrees to Reserve Half for the

Other Party. To the extent that either side requests and obtains such material, that

“obtaining” party agrees to maintain and preserve the gross specimen material. And that

party agrees to reserve one-half of the pathology materials for sectioning by the other party.

The obtaining party agrees to provide the other party with any slides obtained from the

pathology materials within ten (10) business days after the slides are requested by the other

party. Each party agrees to maintain the slides in an appropriate manner that preserves

them for examination, testing, and use by both parties. In addition, the obtaining party

agrees to provide the other party with the entirety of the remaining gross specimen material

within ten (10) business days after it is requested by the other party.

        b. Mutual Notification and Sharing of Slides from Remaining Non-Sectioned

Materials. To the extent that either side creates slides from the remaining non-sectioned

pathology materials (the gross specimen material), that party agrees to notify the other side

and provide that party with the opportunity to examine such slides. Each side agrees to

provide the other party with any newly created slides within ten (10) business days after

the slides are requested by the party. Each side also agrees to maintain any such slides in

an appropriate manner that preserves them for examination, testing, and use by both parties.




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        Each party shall be responsible for maintaining any slides they create in a manner

that preserves them for trial. Either side shall be responsible for maintaining the gross

specimen material upon its appropriate transfer to that side.

        6.     Maintaining Chain of Custody. The parties agree that Plaintiff and

Defendants shall document the chain of custody for all pathology materials using the form

attached as Exhibit A. A copy of the chain of custody shall be provided to the other party

or the Court upon request.       Plaintiff will complete and maintain chain of custody

information for such pathology materials that are already in possession of Plaintiff or

Plaintiff’s representatives, and provide the same on request of Defendants. If a party

provides the pathology materials to consulting experts retained on their behalf, such party

shall continue to maintain the chain of custody form with the name, address, and receiving

signature of the party to whom the pathology materials are sent. The parties may create a

redacted copy of the chain of custody form that redacts the identifying information of any

consulting expert or retained expert if the discovery of said expert’s identity is premature

under the applicable rules and the Court’s Order and Reasons of November 1, 2018 (Rec.

Doc. 4836).

        7.     Trial Plaintiff Selections – Express Sharing Dates. The parties recognize

that both sides will require access to pathology materials or slides in anticipation of expert

discovery deadlines. Therefore, notwithstanding the status of any pending requests or prior

transfers under the provisions above, and unless the parties jointly make other

arrangements, for cases subject to trial selection under Case Management Order No. 14

(Rec. Doc. 3064), or amendments thereof, Defendants shall transfer any pathology material

or slides currently in their custody to Plaintiffs four weeks before Plaintiffs’ applicable


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General and Specific Expert Report deadline. Plaintiffs will maintain custody of such

materials or slides from the date four weeks before Plaintiffs’ applicable General and

Specific Expert Report deadline up to and including the date such reports are due. On the

date that Plaintiffs’ General and Specific Expert Reports are due, they will also transfer to

defendants’ custody of any pathology material or slides, which shall remain in defendants’

custody until the date of Defendants’ General and Specific Expert Reports. Plaintiffs may

request such pathology materials or slides for examination during the period for rebuttal

reports only.    The parties shall maintain custody of their respective slides and

apportionments of gross specimen material during the pre-trial period, but may jointly

arrange transfer or inspection at the maintaining parties’ convenience. New slides created

during pre-trial, but not disclosed to the other side may be excluded from evidence at trial.


        New Orleans, Louisiana this 8th day of November, 2018.




                                                  HON. JANE T. MILAZZO
                                                  UNITED STATES DISTRICT JUDGE




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )             MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )             SECTION: “H” (5)
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                CASE MANAGEMENT ORDER NO. 15
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   PRESERVATION AND TESTING OF TISSUE SAMPLES TAKEN FROM
   PLAINTIFFS AND HANDLING OF PLAINTIFFS’ PATHOLOGY SLIDES)

                    EXHIBIT A - CHAIN OF CUSTODY FORM

                           [Case Name and Number]


     Released by:

     Name:
     ____________________________________________________________________

     Company/Organization:
     ______________________________________________________________

     Address:
     ____________________________________________________________________

     Telephone Number:
     _________________________________________________________________

     Date:
     ____________________________________________________________________

     Time:
     ____________________________________________________________________

     Signature of Recipient:
     _______________________________________________________________




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         ITEM DESCRIPTION (To Be Completed By The Sending Custodian)

Gross Description of Item      Photographed    Manner          of Size     of Other identifying marks
(including date of surgery     While in Your   Preservation       Specimen    or comments
when material removed and      Possession      (paraffin block,
slide numbers if applicable)   (Yes/No)        histology slides,
                                               loose and       in
                                               liquid, etc.)




         Note any change of condition:
         ________________________________________________________________________
         ________________________________________________________________________


         Received by:

         Name:__________________________________________________________________

         Company/Organization:____________________________________________________

         Address:________________________________________________________________

         Telephone Number: _______________________________________________________

         Date:___________________________________________________________________

         Time:___________________________________________________________________

         Signature of Recipient:_____________________________________________________



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                                           EXHIBIT B

IMPORTANT – REQUEST FOR PRESERVATION OF PATHOLOGY MATERIALS

[Date]

Attn: [Facility & Department]
[Address]

Re: [Date of Anticipated Procedure and Case Caption]

Dear [Department]:

I represent the Plaintiff, Ms. [Plaintiff’s first and last name] (your patient), and Defendants’
Liaison Counsel, Douglas Moore and John Olinde, copied below represent the Defendants,
Sanofi-Aventis U.S. LLC and Sanofi US Services, Inc. (Sanofi), in the above referenced
lawsuit. There is no litigation pending against your facility or treating physician in this
matter. I write to request that you preserve the pathology material from Ms. [Plaintiff’s last
name]’s procedure, performed by Dr. [physician’s first and last name].

It is important that any pathology obtained during this upcoming procedure be preserved for
future analysis. The parties request that you preserve the specimen(s) as follows:

    1. Please preserve all explanted materials.
    2. Please process the pathology specimens according to your usual practice for the
       creation of histology slides.
    3. Please document the procedure and the retention of all pathology according to your
       usual practice.
    4. Do not discard or destroy any pathology or documentation related to this procedure.

  Very truly yours,

  __________________
  [Counsel for Plaintiff]
  Counsel for Plaintiff


  cc: Douglas Moore, Esq. (Liaison Counsel for Defendants, Sanofi-Aventis U.S. LLC and
  Sanofi US Services, Inc.)
  John Olinde, Esq. (Liaison Counsel for 505(b)(2) Defendants)




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